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IN THE UNITED sTATEs DISTRICT COURT mfg BV?:_____ D_c._
FOR THE WESTERN DISTRICT oF TENNESSEE

 

WESTERN DIVISION 05 AUG 30 pH m 59
UNITED STATES OF AMERICA ) Wff`) 05 113 F'-¢€EMPHS
Plaintiff, §
VS § CR. NO. 99-20162-D
QUEENESTER OWENS §
Defendant. ))

 

ORDER TO SURRENDER

 

The defendant, Queenester Owens, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Pn`sons by reporting to the FCI Marianna,
3625 FCI Road, Marianoa, Florida 32446 by 2:00 p.m. on THURSDAY, DECEMBER 15, 2005.

I'I` IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Offtce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the ,?@*‘&ay of August, 2005.

   

Th|s document entered on the docket sheet In co
with Fiu!e 55 and/or 32{b) FRCrP on

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy oi`the document docketed as number 58 in
case 2:99-CR-20162 Was distributed by i`aX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

